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                                                                                `


                                               FDA Testing Result Investigation
                                                       August 1, 2019




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                                      Organic Baby Food – Target October ‘18                                    2

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        Agenda

          Earth’s Best Background
          Earth’s Best Rice Cereal Manufacturing
               • Components
               • Supply Chain
          Organic Brown Rice Flour Testing History
          Investigation of FDA Results
          Hain Action Items and Next Steps

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Understanding the Earth’s Best Mission



 We have been cultivating the organic movement for more than 30 years, from responsibly
  raised protein to sustainably sourced purees. All this with the goal of making better food
                                   available to more moms.



                                               At Earth’s Best we believe that
                                     Organic Baby Food is a RIGHT, not a privilege.




                                                                                                                          4

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Earth’s Best Portfolio Overview: Birth to Backpack




                                                                                             Toddler
 Formula          Diapers             Cereal              Jars          Pouches                                    Snacks       Meals
                                                                                             Pouches




                                                                                                                                     5

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Earth’s Best Organic Brown Rice Cereal

                            Alpha-                                      Testing focused on Brown Rice Flour
                           amylase                                               Ingredient Hazard Analysis
                                                                                   • High Risk of Arsenic presence
                                                                                 Dominance in formula (~98%)
                         Vitamin /                                               Sourcing region
                        Mineral Pre-
                            Mix                                         Partnership with key Brown Rice supplier
                                                                                • 5+ years
                                                                                • Training on food safety management
                                                                                  principles throughout the supply chain
                    Brown Rice Flour
                                                                                • Strong sustainability programs

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 Processing and Testing of Rice Cereal



 Rice Receipt                    Paddy                           Milling &                     Flour Receipt               Processed
 & Water                         Parboiling                      Packaged                      by Hain                     into Baby
 Inbound                         • Tested at                     • Pre-shipment                • Supply Chain              Cereal
 • Tested at                       Eurofins                        Samples tested                PC                        • WIP Batch
   Eurofins                                                        by Hain at                  • Based on test             • Packaged
                                                                   Eurofins                      results & COA




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 Organic Brown Rice Flour Testing History

  Brown Rice Flour spec revised based on FDA Guidance in 2016
       • Decreased pre-shipment acceptance due to Arsenic
       • Decrease in average amount of Arsenic found in pre-shipment samples
                                                                                Arsenic Spec            Avg Arsenic
                         Arsenic Spec                  # Samples
                                                                                Acceptance                In Spec
                         Compliance                    Evaluated
                                                                                    Rate                 Samples
                        Pre-Guidance
                                                              88                     98%                   98.5 ppb
                         (2015-2016)
                        Post-Guidance
                                                             142                     82%                   69.3 ppb
                         (2016-2019)
                     Note: Actual Acceptance Rates are lower; these exclude rejections for non-Arsenic related issues




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Investigation of FDA Results By Lot Code
                                                                                             Variation amongst Finished Good
                                                                                              manufacturing date results


                                                                                             Brown Rice Flour testing results
                                                                                              do not appear to be correlated to
                                                                                              finished good results data


                                                                                             Preliminary investigation indicates
                                                                                              Vitamin/Mineral Pre-Mix may be
                                                                                              a major contributing factor


                                                                                             Hain is committed to revalidating
                                                                                             all components and processing
                                                                                             steps to meet FDA guidance

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        Action Items
   Review entire supply chain testing and methodologies

   Validate minor ingredients impact to Food Safety Plan Hazard Analysis

   Explore alternatives for Brown Rice ingredient to reduce risk

   Revalidation of processing impact on finished goods




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  Appendix


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Laboratory Methodology Capabilities
    • Eurofins – current testing lab




    • Covance – Lab purchased by Eurofins, previously NFL




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  Laboratory Methodology Capabilities
      • Certified Labs - historic lab
            • Total Arsenic

            • Speciation of Arsenic




      • Deibel Labs – approved back-up lab
            • Total Arsenic

            • Speciation of Arsenic

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